         Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                               IRAN NOTICE OF
                                                                            AMENDMENT
-----------------------------------------------------------------X

                          Ashton et al v. al Qaeda Islamic Army, et al.
This document relates to: ________________________________________________________,

No. ___________________.
    02-CV-6977(GBD)(SN)

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

                                  3237
above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of July ___,
         10 2018, ECF No. _________.
                           4045      Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Islamic Republic of Iran. The underlying

Complaint is deemed amended to include the allegations, as indicated below, of (a) the Federal

Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint Against Defendant, the

Islamic Republic of Iran, ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic

Republic of Iran, No. 15-CV-9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53. The

amendment effected through this Notice of Amendment supplements by incorporation into, but

does not displace, the underlying Complaint. This Notice of Amendment relates solely to the

Islamic Republic of Iran and does not apply to any other defendant.

         Upon filing this Iran Notice of Amendment, each New Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as

specified below; all causes of action contained within that complaint; all prior filings in




                                                        1
      Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 2 of 6




connection with that complaint; and all prior Orders and rulings of the Court in connection with

that complaint.

       Additionally, each New Plaintiff incorporates the factual allegations and findings

contained in those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848

(GBD)(SN) (S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001,

03-MDL-1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516;

and evidence submitted at the proceedings before the Honorable George B. Daniels on December

15, 2011 (ECF No. 2540).

                                      CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference all factual

allegations, jurisdictional allegations, and jury trial demand, including all causes of action

against Iran, as set forth in the following complaint [check only one complaint]:

        x      Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237

               Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
               (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53




                                                  2
      Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 3 of 6




                            IDENTIFICATION OF NEW PLAINTIFFS

Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks of

September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s name,

the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased family

member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the underlying

Complaint discussing the decedent and/or the decedent’s estate.



    Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
    (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
    last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                       at filing     ationality on                                       Discussing
                       (or death)    9/11/2001                                           9/11
                                                                                         Decedent
1   Beyer, Arlene      NY            USA             Beyer, Paul M.    Spouse              N/A
2   Braca, Jean        NJ            USA             Braca, Alfred     Spouse              N/A
    Butler, Kelly      NY            USA             Butler, Thomas    Child
3   A.                                               M.                                    N/A

    Butler, Martha NY                USA             Butler, Thomas    Spouse
4                                                    M.                                    N/A

    Butler, Martha NY                USA             Butler, Thomas    Parent and
                                                     M.                legal guardian
                                                                       on behalf of P.
                                                                       T. B., minor
5                                                                      child of 9/11       N/A
                                                                       Decedent
                                                                       Thomas M.
                                                                       Butler
    Butler, Sean       NY            USA             Butler, Thomas    Child               N/A
6   W.                                               M.
    Carrington,        NY            USA             Carrington,       Spouse              N/A
7   Patricia                                         Jeremy
    Chazin, David      NJ            USA             Lapin, Ruth       Spouse              N/A
8   J.



                                                     3
       Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 4 of 6



     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
     last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                        at filing     ationality on                                       Discussing
                        (or death)    9/11/2001                                           9/11
                                                                                          Decedent
     Coakley,           NC            USA             Coakley, Steven   Parent              N/A
9    Vincent
     Correa, Susan      NY            USA             Correa, Ruben     Spouse              N/A
10                                                    D.
   Erwin-               NJ            USA             Erwin, William    Spouse              N/A
11 Michael,
   Eileen
     Erwin-             NJ            USA             Erwin, William    Parent and          N/A
     Michael,                                                           legal guardian
     Eileen                                                             on behalf of
12                                                                      B. E., minor
                                                                        child of 9/11
                                                                        Decedent
                                                                        William Erwin

13 Geraty, Eileen       NY            USA             Geraty, Suzanne   Parent              N/A

   Gooding,             NY            USA             Gooding, Calvin   Spouse              N/A
14 Lachanze                                           J.
     Haran, Carol       NY            USA             Haran, James      Spouse              N/A

15


   Hatton,              NJ            USA             Hatton, Leonard   Spouse              N/A
16 Joanne

   Leahy,               NY            USA             Leahy, James P.   Spouse              N/A
17 Marcella

   McCarthy             NY            USA             O'Leary, Gerald   Spouse              N/A
18 O'Leary,                                           Thomas
   Mary Jean
   McCarthy             NY            USA             O'Leary, Gerald   Parent and          N/A
   O'Leary,                                           Thomas            legal guardian
19 Mary Jean                                                            on behalf of
                                                                        M. P. O.,
                                                                        minor child of

                                                      4
       Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 5 of 6



     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
     last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                        at filing     ationality on                                       Discussing
                        (or death)    9/11/2001                                           9/11
                                                                                          Decedent
                                                                        9/11 Decedent
                                                                        Gerald
                                                                        Thomas
                                                                        O'Leary
   McCarthy,            NY            USA             McCarthy,         Spouse              N/A
20 Ann                                                Robert G.
     McCarthy,          NY            USA             McCarthy,         Parent and          N/A
     Ann                                              Robert G.         legal guardian
                                                                        on behalf of S.
                                                                        M., minor
21                                                                      child of 9/11
                                                                        Decedent
                                                                        Robert G.
                                                                        McCarthy
   Rosenberg-           NY            USA             Torres, Luis E.   Spouse              N/A
22 Torres, Alissa

     Rosenberg-         NY            USA             Torres, Luis E.   Parent and          N/A
     Torres, Alissa                                                     legal guardian
                                                                        on behalf of J.
23                                                                      E. T., minor
                                                                        child of 9/11
                                                                        Decedent Luis
                                                                        E. Torres
   Schroeder,           NC            USA             Lapin, Ruth       Child               N/A
24 Douglas

     Wright, Mary       NY            USA             Wright, Neil      Parent              N/A
25




                                                      5
     Case 1:02-cv-06977-GBD-SN Document 997 Filed 11/28/18 Page 6 of 6




Dated: November 28, 2018



                                         Respectfully submitted,

                                         KREINDLER & KREINDLER LLP

                                         BY: /s/ James P. Kreindler
                                         James P. Kreindler, Esq.
                                         Andrew J. Maloney III, Esq.
                                         750 Third Avenue, 32nd Floor
                                         New York, New York 10017
                                         Tel: (212) 687-8181
                                         COUNSEL FOR PLAINTIFFS




                                     6
